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14                                 UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
15                                       WESTERN DIVISION
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       Kitsch LLC, a California
18     company,                                           Case No. 2:19-cv-02556-JAK-RAO
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                     Plaintiff/Counter-                   DEFENDANT/COUNTERCLAIM
21                   Defendant,                           PLAINTIFF DEEJAYZOO, LLC’S
       v.                                                 MEMORANDUM IN OPPOSITION
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                                                          TO KITSCH, LLC’S MOTION TO
23                                                        STRIKE PURSUANT TO FED. R.
       DEEJAYZOO, LLC, a New                              CIV. P. RULE 37
24
       York company,
25                                                        Judge:           John A. Kronstadt
                     Defendant/Counter-                   Courtroom:       10B
26
                     Plaintiff.                           Date:            Monday, May 10, 2021
27                                                        Time:            8:30 a.m.
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30                                                                                    Case No. 2:19-cv-02556-JAK-RAO
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 1   I.      BACKGROUND
 2           In Deejayzoo, LLC’s (“Deejayzoo”) first document production to Kitsch LLC
 3   (“Kitsch”), Deejayzoo produced a document that provided the results of a materials test
 4   done by Vartest Laboratories on Kitsch’s infringing shower caps (“Vartest Document”).
 5   The Vartest Document presents the results of a materials test done on the liner of a black
 6   Kitsch shower cap. The reference to the “Double Red Label” refers to Vartest’s priority
 7   services, where clients can receive tests next day.                          See “Vartest’s Credentials &
 8   Information,” https://vartest.com/resources/vartest-credentials/.                  The Vartest Document
 9   identifies Poron 4716-16, a well-known spray-on polyurethane, and goes on to discuss the
10   “presence of urethane.” This all shows that the infringing cap met the limitation in Claim
11   1 from Deejayzoo’s utility patent requiring the inner layer to be polyurethane. On May 30,
12   2019, Deejayzoo served its Initial Infringement Contentions (Dkt. No. 44-7) which
13   referenced the Vartest Document multiple times. See Dkt. No. 44-7, Page ID #: 876, 904.
14           In Deejayzoo’s motion for summary judgment, it referenced its Infringement
15   Contentions in support of its argument that Kitsch’s shower caps infringe on Deejayzoo’s
16   utility patent. See Dkt. No. 88-1, Page ID # 3391. Kitsch’s opposition stated that Deejayzoo
17   had not provided evidence that Kitsch’s shower cap had an inner layer made of
18   polyurethane, although it had at the very beginning of this litigation. See Dkt. No. 140,
19   Page ID #: 9193-4. Deejayzoo then highlighted the document in its reply so as to correct
20   this misstatement by Kitsch. Now, Kitsch attempts to strike this document under the
21   incorrect argument that it is a document that requires expert testimony and report to be
22   admissible and, therefore, should be excluded for not having been disclosed in accordance
23   with the discovery schedule in this case. However, as discussed below, this motion is
24   unwarranted and should be rejected.
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 1   II.        ARGUMENT
 2              A.       Legal Standard
 3              Fed. R. Civ. P. 37(c)(1) provides, in relevant part:
 4                       A party that without substantial justification fails to disclose
 5                       information required by Rule 26(a) or 26(e)(1), or to amend a prior
                         response to discovery as required by Rule 26(e)(2), is not, unless such
 6                       failure is harmless, permitted to use as evidence at a trial, at a hearing,
 7                       or on a motion any witness or information not so disclosed.

 8   The 9th Circuit has held that “[t]he information may be introduced if the parties' failure to
 9   disclose the required information is substantially justified or harmless.” Yeti by Molly, Ltd.
10   v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir. 2001).
11              B.       The Vartest Document does not require an expert to understand, so there
12                       was no failure to disclose.
13              First, Kitsch attempts to establish that the Vartest Document is a document that only
14   a person with “scientific, technical, or other specialized knowledge” could interpret and
15   understand, inserting a graph from the report in its brief to emphasize the supposed technical
16   nature of the document. Dkt. No. 189, Page ID #: 10774. This is simply incorrect. The
17   Vartest Document clearly states that the testing shows the “presence of urethane” in the
18   infringing black Kitsch shower cap. Further, it identifies the presence of Poron 4716-16 in
19   the shower cap. A simple internet search reveals that Poron is a well-known manufacturer
20   of industrial polyurethanes.1
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         See https://rogerscorp.com/elastomeric-material-solutions/poron-industrial-polyurethanes
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 1           In other words, no expert knowledge is needed to understand this document. See,
 2   e.g., Centricut, LLC v. Esab Grp., Inc., 390 F.3d 1361, 1370 (Fed. Cir. 2004) (“We do not
 3   state a per se rule that expert testimony is required to prove infringement when the art is
 4   complex.”). As such, there was no failure to disclose in accordance with Fed. R. Civ. P. 26.
 5   Indeed, Kitsch admits that the Vartest Document was produced during discovery as part of
 6   Deejayzoo’s document production. See Dkt. No. 189, Page ID #: 10772.
 7           Moreover, Kitsch cites no authority excluding a document that has been timely
 8   disclosed, pursuant to Rule 37, merely because the subject matter of the document is of a
 9   scientific nature. Instead, every case Kitsch relies upon relates to the failure of a party to
10   disclose an expert witness in accordance with Rule 37, and precluding undisclosed experts
11   from testifying. See Gallagher v. Holt, No. 2:08-CV-03071 JFM C, 2012 WL 3205175, at
12   *14 (E.D. Cal. Aug. 3, 2012) (excluding a forensic accountant from testifying because he
13   was not disclosed in accordance with the court’s scheduling order); Saracana Condo. Ass'n
14   v. State Farm Fire & Cas. Co., No. 2:12-CV-02250-SLG, 2014 WL 10987445, at *5 (D.
15   Ariz. Dec. 31, 2014) (excluding a witness from testifying at trial because the party seeking
16   to call him failed to disclose him as an expert witness in accordance with Rule 26(a)); Safeco
17   Ins. Co. of Am. v. Olstedt Const., Inc., No. CV-02-1680-ST, 2004 WL 1055678, at *2 (D.
18   Or. May 7, 2004) (striking testimony of lay witnesses). Simply put, Rule 37 does not apply
19   here.
20           C.      There is no harm to Kitsch.
21           Kitsch argues that because no expert report was produced in conjunction with the
22   Vartest Document that it has suffered prejudice as a result. Nothing could be further from
23   the truth. First, the Vartest Document was produced to Kitsch at the very beginning of
24   discovery and was again referenced in Deejayzoo’s initial infringement contentions. See
25   Dkt. No. 44-7, Page ID #: 876, 904. Deejayzoo’s infringement contentions were submitted
26   as supporting documents for its summary judgment briefing. From as early as 2019, at the
27   beginning stages of this litigation, Deejayzoo has referred to the Vartest Document as part
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 1   of its case of patent infringement against Kitsch. There can be no prejudice or harm when
 2   the document had been disclosed in accordance with the Court’s scheduling order and has
 3   been in Kitsch’s possession for almost two years. See Batiz v. Am. Com. Sec. Servs., 776
 4   F. Supp. 2d 1087, 1093 (C.D. Cal. 2011) (holding that, even if disclosing party was untimely
 5   in its disclosure, any tardiness in disclosure was harmless because receiving party had
 6   documents in their possession prior to start of litigation).
 7           Second, for nearly the entirety of this litigation, Kitsch had the Vartest Document in
 8   its possession and had notice of Deejayzoo’s reliance on it. However, in its opposition to
 9   Deejayzoo’s motion for partial summary judgment, Kitsch still argued that Deejayzoo had
10   not provided evidence of its infringing shower caps having an inner layer made of
11   polyurethane. See Dkt. No. 140, Page ID #: 9193-4. In its reply, Deejayzoo attempted to
12   correct the record for the Court. Kitsch claims that because Deejayzoo identified this
13   evidence in its reply, Kitsch is unable to provide the Court with any rebuttal evidence, which
14   compounds any prejudice it faces. This is simply untrue. Kitsch was able to rebut this
15   evidence that was produced at the beginning of this litigation at any time, including after it
16   was referenced in Deejayzoo’s infringement contentions with Kitsch’s own non-
17   infringement contentions. Kitsch chose not to, and now would like to claim this failure on
18   its own part as prejudice. This strategy must be rejected. See, e.g., Sepe v. Gordon
19   Trucking, Inc., 755 F. App’x 668, 670 (9th Cir. 2019) (upholding district court’s finding
20   that plaintiff’s failure to disclose expert reports was harmless because defendants were
21   aware of potential witnesses and records had been produced from those witnesses);
22   Montgomery v. Wal-Mart Stores, Inc., No. 12CV3057-AJB (DHB), 2015 WL 11233382, at
23   *2 (S.D. Cal. Sept. 24, 2015) (holding that untimely designation of expert reports was
24   harmless because receiving party had ample time to conduct any necessary discovery in
25   response to expert designation and report); Frontline Med. Assocs., Inc. v. Coventry Health
26   Care, 263 F.R.D. 567, 570 (C.D. Cal. 2009) (“Harmlessness may be established if a
27   disclosure is made sufficiently in advance of the discovery cut-off date to permit the
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 1   opposing party to conduct discovery and defend against the damages claims.”).
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     III.    CONCLUSION
 3           For the forgoing reasons, Deejayzoo requests that this Court deny Kitsch’s motion to
 4   strike pursuant to Fed. R. Civ. P. Rule 37.
 5
 6   DATED: April 19, 2021                   JAYARAM LAW, INC.
 7                                                 By /s/ Vivek Jayaram
 8                                                     Attorneys for Defendant
 9                                                     Deejayzoo, LLC
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